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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT MASSACHUSETTS


                                      )                Civil Action No. 15-cv-13617-FDS
C.D., by and through her PARENTS AND  )
NEXT FRIENDS, M.D. and P.D.           )
                                      )
                    Plaintiffs,       )
 v.                                   )
                                      )
 NATICK PUBLIC SCHOOL DISTRICT )
 and                                  )
 BUREAU OF SPECIAL EDUCATION          )
 APPEALS,                             )
                    Defendants.       )
  ___________________________________ )


                   PLAINTIFF’S MEMORANDUM OF LAW
     IN SUPPORT OF SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT


I.     INTRODUCTION

       Pursuant to Fed. R. Civ. P.56 and Local Rule 56.1, the Plaintiff’s, C.D., and her parents

M.D. and P.D. (“Parents”), on behalf of their daughter and themselves, respectfully submit this

Memorandum of Law in Support of their Supplemental Motion for Summary Judgment filed on

May 25, 2018, seeking reversal of a decision on remand by the Bureau of Special Education

Appeals (“BSEA”) of the Division of Administrative Law Appeals.

       In his July 21, 2017, Memorandum and Order on Plaintiffs' Motion for Summary

Judgment, this Court denied the Plaintiff’s motion, but remanded the case to the BSEA for

further consideration or clarification as to whether two of the proposed IEPs provided for an

education in the “least restrictive” environment possible.




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          The Court noted that, “While C.D. may well have benefitted academically from a

placement in the ACCESS program—a conclusion well within the educational expertise of the

agency—such academic benefits “cannot be invoked to release an educational agency from

compliance with the [IDEA’s] mainstreaming provisions” (citing Roland M. v. Concord School

Committee, 910 F.2d 983, 993 (1st Cir. 1990)). Rather, the benefits to be gained from

mainstreaming must be weighed against the educational improvements that could be attained in a

more restrictive (that is, non-mainstream) environment. Id.

          In its Memorandum and Order, the Court found that it is unclear whether the hearing

officer adhered to the requirement that the benefit of mainstreaming be weighed against the

benefits of a more restrictive environment and indicated that, given those circumstances, remand

on this issue is appropriate to permit the hearing officer to consider, or at a minimum clarify,

whether the 2012-2013 and 2013-2014 IEPs were reasonably calculated to provide a free

appropriate education (FAPE) in the “least restrictive” environment possible. 1

    II.    LEGAL STANDARD

          The First Circuit has directed district courts reviewing appeals of administrative decisions

    under the IDEA to:

          review[ ] the administrative record, which may be supplemented by additional evidence
          from the parties, and make[ ] an independent ruling based on the preponderance of the
          evidence. That independence is tempered by the requirement that the court give due
          weight to the hearing officer’s findings. This intermediate level of review reflects the
          concern that courts not substitute their own notions of educational policy for that of the
          state agency, which has greater expertise in the educational arena.




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  The Court noted that because the 2013-14 IEP was virtually identical to the 2012-13 IEP, it is subject to the same
substantive concerns as the prior IEP regarding whether placement in the ACCESS program was the “least
restrictive” environment possible, and for the same reasons, remand is appropriate to enable the hearing officer to
determine whether the 2013-14 IEP provided for an appropriate education in the “least restrictive” environment
possible; therefore the Parents’ arguments relative to the 2012-2013 IEP apply equally to the 2013-2014 IEP.


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Lt. T.B. ex rel. N.B. v. Warwick Sch. Comm., 361 F.3d 80, 83-84 (1st Cir. 2004) (citation and
internal quotation marks omitted).

       On matters that implicate educational expertise, heightened deference is due to an

agency’s administrative findings. Mr. I v. Maine Sch. Admin. Dist. No. 55, 416 F. Supp. 2d 147,

156 (D. Me. 2006). However, “when the issue is more a matter of law, the educational expertise

of the agency is not implicated, and less deference is required.” Id. at 157. Nonetheless, it is the

reviewing court’s role to render “an independent ruling as to the IEP’s adequacy based on a

preponderance of all the evidence, including the hearing officer’s duly weighted findings.” Lenn

v. Portland Sch. Comm., 998 F.2d 1083, 1089 (1st Cir. 1993).

       Courts are particularly unlikely to defer to administrative rulings that fail to thoroughly

address the IDEA's mainstreaming requirement. See Oberti v. Board of Educ., 995 F.2d 1204,

1221 (3rd Cir. 1993) (“[T]he district court did not fail to give ‘due weight’ to the agency

proceedings on this issue since the ALJ did not even consider whether the School District had

made efforts to include [the disabled child] in a regular classroom with supplementary aids and

services, as is required by IDEA”); see also Jennifer D. v. N.Y. City Dep't of Educ., 550 F. Supp.

2d 420, 432 (S.D.N.Y. 2008) (“[T]he SRO's decision does not enumerate the relevant factors or

engage in an analysis of whether the IEP provided for a placement in the least restrictive

environment. Because the SRO did not make any findings on this issue, the decision of the SRO

is not entitled to deference....”); see also Warton v. New Fairfield Bd. of Educ., 217 F. Supp. 2d

261, 278 (D. Conn. 2002) (overturning an IHO's ruling because "the School Board failed to rebut

the presumption of an appropriate mainstream placement").

III.   LEGAL FRAMEWORK

       The IDEA expresses a strong preference for the education of children with disabilities in

the “least restrictive environment” (LRE). 20 U.S.C. § 1412(a)(5). It requires states to maintain


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policies and procedures to ensure that “[t]o the maximum extent appropriate, children with

disabilities . . . are educated with children who are not disabled, and special classes, separate

schooling, or other removal of children with disabilities from the regular education environment

occurs only when the nature or severity of the disability of a child is such that education in regular

classes with the use of supplementary aids and services cannot be achieved satisfactorily.” Id.

IEPs must, therefore, balance the often-competing interests of “mainstreaming,” on the one hand,

with substantive educational improvement, on the other. Roland M. 910 F.2d at 992-93.

IV.    ARGUMENT

       A.      The hearing officer’s Consideration/Clarification on Partial Remand
               (“Order in Remand”) failed to enumerate the required factors or engage in
               the required analysis to demonstrate that the IEP’s proposed by Natick for
               the 2012-2013 and 2013-2014 school years were reasonably calculated to
               provide C.D. with a FAPE in the “least restrictive” environment possible.

       Pursuant to the IDEA’s LRE mandate:

               Each public agency must ensure that … special classes, separate schooling, or
               other removal of children with disabilities from the regular educational
               environment occurs only if the nature or severity of the disability is such that
               education in regular classes with the use of supplementary aids and services
               cannot be achieved satisfactorily…Only when the disabled child's education may
               not be achieved satisfactorily, even with one or more of these supplementary aids
               and services, may the school board consider placing the child outside of the
               regular classroom.

       34 C.F.R. §§300.114(a)(2)(i) and (ii).

       Therefore, as a preliminary matter in every case, school districts must determine whether

the child can be provided with an appropriate education in the regular education classroom with

supplementary aids and services. See e.g., Department of Educ. v. Katherine D., 727 F.2d 809

(9th Cir. 1984). As part of this discussion, the school district must consider the whole range of

supplementary aids and services, including resource rooms and itinerant instruction, for which it




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is obligated to provide under the IDEA. Greer v. Rome City School District, 950 F.2d 688, 696

(1991).

          Pursuant to the IDEA’s LRE mandate:

                 “Each public agency shall ensure that a continuum of alternative placements
                 is available to meet the needs of children with disabilities for special
                 education and related services…The continuum … must … make provision
                 for supplementary services (such as resource room or itinerant instruction) to
                 be provided in conjunction with regular class placement… In determining
                 the educational placement of a child with a disability, including a preschool
                 child with a disability, each public agency must ensure that … a child with a
                 disability is not removed from education in age-appropriate regular
                 classrooms solely because of needed modifications in the general
                 curriculum.”

          34 C.F.R. §§ 300.115(a) and (b)(2); 34 C.F.R. § 300.116(e).

The IDEA “requires states to provide supplementary aids and services and to modify the regular

education program when they mainstream handicapped children…If the state has made no effort

to take such accommodating steps, (the Court’s) inquiry ends, for the state is in violation of the

Act’s express mandate to supplement and modify regular education.” Daniel R.R. v. State Bd. of

Ed. 874 F. 2d 1036 (5th Cir. 1989).

                 1.     The hearing officer’s Order on Remand failed to demonstrate that
                        Natick seriously considered whether C.D. could be provided with an
                        appropriate education in the regular education classroom with
                        supplementary aids and services and/or necessary modifications prior
                        to proposing placement in the substantially separate ACCESS
                        program.

          Pursuant to the IDEA’s LRE mandate:

                 In determining the educational placement of a child with a
                 disability, including a preschool child with a disability, each public
                 agency must ensure that … a child with a disability is not removed
                 from education in age-appropriate regular classrooms solely
                 because of needed modifications in the general curriculum.

          34 C.F.R. §300.116(e).



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        In her Decision, the hearing officer remarked that while “Father had suggested starting

Student in the general education setting with supports and services and assessing her progress in

that setting, “Natick was not open to that.” (A.R. 1554).2 At the meeting on July 27, 2012, when

the Parents described the educational model at McAuliffe and C.D.’s success with supplementary

supports and services in the general education classroom, Natick responded, "That could not

happen here...because it doesn't happen, because public schools have their own staff and their

own experts, and they don't allow outside people to come in and teach their students in their

classroom. No public school would allow that." (A.R. 317).

        The IEPs proposed by Natick for the 2012-2013 school year did not state whether the

District considered any accommodations that would have allowed C.D. to continue attending

school with non-disabled children. In fact, under the heading “Non-Participation Justification,”

each of the IEPs stated that: “C.D. requires specialized instruction in small group classes for all

core academic content areas and for vocational/post-secondary skill development using modified

curriculum and approaches outside of the general education setting in order to make progress.”

(A.R. 3306, 3308). This type of boilerplate, conclusory language cannot satisfy the requirement

that the School District “serious[ly] consider[ed ] ... including the child in a regular class with

such supplementary aids and services [as appropriate].” Oberti, 995 F. 2d. at 1216; see also A.S.

v. Norwalk Bd. of Educ.,183 F. Supp. 2d 534, 544 (D. Conn. 2002). (“[T]he cited testimony is

simply too broad and vague to reasonably support the conclusion that the Board in fact

considered providing direct assistance from a special education teacher in the regular education

classroom, an increased role for the Board's consultants, or the other supplemental services

identified by [the student's] experts.”).

  2
    Citations to the Administrative Record are denoted as “A.R.” followed by the page number found at the bottom
  of each record page (e.g., A.R. 1549).




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       In Oberti, the Court noted that this factor weighs particularly heavily against the District,

since a school that has failed to give consideration to inclusion of a child in a regular class with

supplementary aids and modifications has most likely violated the Act's mainstreaming directive.

Oberti, 995 F.2d at 1216; See also Daniel R.R., 874 F. 2d at 1048 (“The Act does not permit

states to make mere token gestures to accommodate handicapped students; its requirement for

modifying and supplementing regular education is broad.”); see also P. v. Newington Bd. of Ed.,

546 F.3d 111, 120 (2nd Cir., 2008) (internal quotation marks omitted) (“First, the Court must

determine whether "reasonable efforts [were made] to accommodate [N.B.] in a regular

classroom."

       In Greer, the Court found it “significant that neither the transcripts and minutes of the

placement committee meetings nor the proposed IEP indicate that school officials considered any

options other than the two extremes presented by the parties, that is, the school district’s proposal

for instruction in a self-contained class and the parents' proposal for instruction in a regular class

supplemented only by speech therapy.” Greer v. Rome City School Dist., 950 F.2d 688 at 692.

Here, the transcript of the IEP meeting from July 27, 2012 clearly demonstrates that Natick

failed consider whether C.D. could continue in the general education classroom with

supplementary aids and modifications, in violation of the Act's mainstreaming directive. (A.R.

383-433).

       In her Order on Remand, as apparent justification for Natick’s refusal to even consider

whether C.D. could succeed in the general education environment with supplemental supports

and services, the hearing officer noted that, “Natick could have provided Student with a

continuum of less restrictive options through which she could have moved as she progressed”




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(Order on Remand, p.3), evidencing a basic lack of understanding relative to the meaning

and purpose of the “continuum” of placements envisioned by Congress. 3

          2. The hearing officer’s Order on Remand failed to demonstrate that
             Natick considered a variety of sources of information from
             knowledgeable persons to ensure that its placement decision complied
             with the IDEA’s LRE mandate.

        Districts must consider a variety of sources, including aptitude and achievement tests,

teacher recommendations, physical condition, social or cultural background, and adaptive behavior,

when interpreting evaluation data and making placement decisions. 34 CFR 104.35(c)(l).

        “In determining the educational placement of a child with a disability…each public

agency must ensure that - (a) The placement decision - (1) Is made by a group of persons,

including the parents, and other persons knowledgeable about the child, the meaning of the

evaluation data, and the placement options.” 20 U.S.C. 1412(a)(5); 34 CFR § 300.116; 603 CMR

§§ 28.06 (b) and (c).

        Prior to the IEP meetings in 2012, the Parents forwarded C.D.’s 8th Grade IEP from

McAuliffe (A.R. 163; A.R. 3375) which was written by the McAuliffe IEP team in conjunction

with the Parents and their experts, recommending that C.D. continue her education in the general

education classroom, her most recent Psychoeducational Evaluation (A.R. 177), and

Neuropsychological Evaluation (A.R. 238), and Speech and Language Evaluation (A.R. 222),

and a copy of the Natick High School 9th Grade Course Selection List which C.D. and her

McAuliffe guidance counselor, Sara Shapiro, had completed, circling and initialing all college

prep level courses for C.D. per the recommendations of C.D.'s general education teachers. (A.R.


3
 The hearing officer further noted that, “(i)n fact after Student’s three-year reevaluation, Natick did propose
changes to Student’s program that provided her with a general education social studies class…” In doing so, the
hearing officer referenced changes made for the 2014-2015 school year, which is not only irrelevant to the school
district’s determination in 2012, but also references an IEP which this Court specifically excluded from its
Memorandum and Order relative to this remand. (Order on Remand, Footnote 1, p.3).


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2750). In addition, Ms. Coellner, Ms. Flax, Ms. Soden and the Parents provided uncontroverted

information regarding C.D.’s success at McAuliffe. (See A.R. 383 - 433) The evidence also

included C.D.’s Report Cards and Progress Reports from 6th, 7th and 8th grade, which were

written by her general education teachers, and repeatedly showed C.D.’s ability to access the

general education curriculum and progress with appropriate supplemental supports and services,

as envisioned by the IDEA. (See A.R. 94-151).

       At the hearing, Dr. Imber, who has vast experience in conducting both independent

and school evaluations, specifically addressed Natick’s focus on low test scores – indicating

that they were not predictive (especially given that C.D. was in general education accessing

the Massachusetts Curriculum Standards for the past three (3) years (and had passed the

MCAS in ELA in 8th grade). (A.R. 396).

       Not one of Natick’s IEP team members who recommended the self-contained ACCESS

Program were knowledgeable about C.D. (See generally A.R. 383 – 433). More specifically, no

Natick team member observed C.D.; no Natick team member consulted with her teachers at

McAuliffe; no Natick team member evaluated her; and no Natick team member provided her

with any direct instruction. On the other hand, the Parents’ experts who also participated in the

IEP Team meeting held in Natick on July 27, 2012 had observed C.D. during the course of her

three (3) years at McAuliffe and consulted with her teachers routinely during the time that C.D.

attended school 6th, 7th, and 8th grades. (Id.) Two (2) of the Parents’ experts had extensive

experience in evaluating C.D. (Id.) Nevertheless, Natick and the hearing officer simply ignored

the placement recommendations made by the parents’ experts, her general education teachers

and her guidance counselor at McAuliffe, preferring instead to rely on the recommendations of

persons who had absolutely no knowledge of C.D.’s unique needs and success in the general




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education classroom at McAuliffe for the prior three (3) years. (See Sebastian M. v. King Philip

Reg’l Sch. Dist. 685 F.3d 79, 85 (1st Cir. 2012)).

       In her Order on Remand, the hearing officer indicated that, “…the general

education program with supports was preferred by the Parents, but deemed inappropriate

by Natick because, based on Student’s IEP from her prior placement and test scores,

Natick did not believe that general education was appropriate for her. (Order on Remand

p. 2 citing A.R. 413-414). Notwithstanding the hearing officer’s failure to credit

Congress with also preferring the general education classroom, the hearing officer fully

supported Natick’s failure to discuss the range of supplementary aids and services and

disregard of the opinions of the only persons knowledgeable about C.D., the evaluation

data, and the placement options.

       3.      The hearing officer’s Order on Remand grossly misrepresented the nature
               and severity of C.D.’s disability and the level of support she needed at
               McAuliffe to justify Natick’s removal of C.D. from the general education
               environment based upon her prior placement.

       In order for the scales to tip in favor of an integrated environment, the Court need only

determine that, “with appropriate support and services,” C.D. could “make progress toward [her]

IEP goals in the regular education setting.” Warton v. New Fairfield Bd. of Educ., F. Supp. 2d at

275-276; see also Daniel R.R., 874 F.2d at 1047 (“If the child's individual needs make

mainstreaming appropriate, we cannot deny the child access to regular education simply because

his educational achievement lags behind that of his classmates....”).

       Thus, the decision whether to mainstream a child must include an inquiry into whether

the student will gain any educational benefit from regular education. See A.S. v. Norwalk Board

of Ed.,183 F. Supp. 2d at 546 (“[T]he appropriate yardstick is whether [the child], with




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appropriate supplemental aids and services, can make progress towards her IEP goals in the

regular education setting.”)

       One way of measuring the benefits of placing a particular child in an integrated class is to

look at the progress he or she in fact made in such classes. See Walczak v. Florida Union Free

School Dist., 142 F. 3d 119, 130 (C.A.2 (N.Y.) 1998) (“A review of objective evidence [of a

student's progress] is easiest, of course, when a disabled child is in a mainstream class.”); see

also Roland M., 910 F. 2d. at 991 (“[A]ctual educational results are relevant to determining the

efficacy of educators' policy choices.”); see also Jennifer D., 550 F. Supp. 2d at 432 (noting that

the child's behavior “in the period from November 2005 through the development of the January

2006 IEP strongly supports the conclusion that he was capable of being educated in a community

school ... if he was afforded special education services”).

         The “attainment of passing grades and regular advancement from grade to grade are

 generally accepted indicators of satisfactory progress.” Walczak, 142 F. 3d at 130. (C.A.2

 (N.Y.) 1998); see also Bd. Of Educ. v. Rowley, 458 U.S. 176, 207 n. 28 (1982) (finding that

 a disabled student's ability to achieve passing marks and her advancement from grade to

 grade “was an important factor” in determining whether the student could be appropriately

 mainstreamed).

       Here, the Parents and their experts provided an avalanche of uncontroverted evidence

demonstrating that C.D. made more than satisfactory progress both academically and socially

during each of the three (3) years that she attended McAuliffe in the general education classroom

with non-disabled peers (see generally A.R. 383 – 433). Evidence that she made progress is

uncontradicted. Id. The uncontroverted evidence showed that C.D. succeeded with considerable

independence at McAuliffe (see e.g., A.R. 4028); that the support she received in the general




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education classroom at McAuliffe served to maximize her learning and participation with

nondisabled peers, rather than impede it (Id.); that she received occasional (not constant) support

(A.R. 1696) in academic classes only (not throughout the day) (A.R. 1696); worked really well

on group projects (A.R. 1697); often acted as the scribe, writing on the board on behalf of the

group (A.R. 1697); and attended electives, including a keyboarding computer class, art, physical

education and lunch on her own, without any support (A.R. 1720).

       Nevertheless, as apparent support for Natick’s conclusion that C.D.’s prior placement

showed that C.D. could not benefit from inclusion even with supplemental aids and services, the

hearing officer inexplicably claimed that, “[s]tudent attended general education classes…with

the constant support of either Nan Coellner or Marcia Soden,” and “although none of the

witnesses testified to it,” extrapolated that, “…[The ACCESS program] was less restrictive than

[C.D’s] McAuliffe placement because it did not provide for the assistance of a one to one aide

throughout the day. It provided [C.D.] the opportunity to independently access academic services

in a program specifically designed for students with profiles similar to [C.D’s]” (A.R. 1565).

       This finding, if true, would only be one factor relevant to the determination of whether the

ACCESS program was the least restrictive environment in which C.D. could succeed; however, it

was not only entirely unsupported by the record, it was also completely contrary to it. In making

this finding, the hearing officer not only disregarded substantial uncontroverted evidence on the

record provided by the Parents and their experts, but also evidence presented by Natick, including

Ms. Dalan’s statement in her email to the Parents dated June 19, 2012, in which she observed that

C.D.: “was sitting quietly, sometimes taking notes, and other times working to complete given

assignments…I did not see her private tutor working with her.” (A.R. 377).




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        4. The hearing officer’s Order on Remand failed to demonstrate that Natick
           weighed the non-academic benefits of education in the general education
           setting, including the development of social and communication skills from
           interaction with nondisabled peers, as factors weighing in favor of inclusion.

       Mainstreaming may not be ignored, even to fulfill substantive educational criteria. "Just

as the least restrictive environment guarantee cannot be applied to cure an otherwise

inappropriate placement, similarly, a state standard cannot be invoked to release an educational

agency from compliance with the mainstreaming provisions." Town of Burlington v. Dep’t of

Educ. of Mass., 736 F.2d 773, 789 n. 19 (1st Cir. 1984); see also Roncker v. Walter, 700 F.2d

1058, 1063 (C.A.6 (Ohio) 1983) ("a placement which may be considered better for academic

reasons may not be appropriate because of the failure to provide for mainstreaming").

       In Daniel R.R., the 5th Circuit reiterated that, “[a]cademic achievement is not the only

purpose of mainstreaming. Integrating a handicapped child into a nonhandicapped environment

may be beneficial in and of itself…Thus [the Court's] inquiry must extend beyond the

educational benefits that the child may receive in regular education.” Daniel R.R. v. State Bd. of

Ed. 874 F. 2d at 1049. See also, Oberti v. Board of Educ., 995 F.2d at 1216 (“the Court must

consider ... ‘those unique benefits the child may obtain from integration in a regular classroom

which cannot be achieved in a segregated environment, i.e., the development of social and

communication skills from interaction with nondisabled peers”); see also, Daniel R.R. supra (“a

child may be able to absorb only a minimal amount of the regular education program, but may

benefit enormously from the language models that his non-handicapped peers provide”); see also

Greer supra at 697 (language and role modeling from association with nondisabled peers are

essential benefits of mainstreaming); see also Board of Educ. Sacramento City Unified School

Dist. v. Holland, 786 F. Supp. 874, 882 (E.D. Cal. 1992) (benefits obtained by a child with




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mental retardation as result of placement in a regular classroom include development of social

and communications skills and generally improved self-esteem).

       In addition, if a student shows awareness and some positive reaction to being with

nondisabled peers, then such interaction weighs in favor of inclusion (assuming the student can

receive a meaningful educational benefit and is not unduly disruptive). Id. at 883 (“Non-

academic benefits in the regular classroom included development of social and communication

skills as well as improved self-confidence…Rachel’s presence in the regular classroom was not

disruptive nor did her presence interfere with the teacher’s ability to teach the rest of the class.

Rachel followed directions, was well-behaved and not a distraction in class”). C.D. was not only

not disruptive, she was a model student. The evidence of her positive reaction to being with

nondisabled peers was overwhelming.

       Ms. Coellner testified that C.D. was able to access the general education curriculum at

McAuliffe; she has a mild intellectual disability and excellent executive functioning skills; is

very organized; works really well in groups; has beautiful handwriting and would often be the

scribe during group projects. (A.R.1697). Ms. Coellner further testified that, “When I met C.D.

in the sixth grade, she had no self-confidence about academics. She was very shy, she didn’t

think she could do anything, and I saw her self-confidence improve.” (A.R.1697, ll. 7-11). Ms.

Coellner further testified that she observed C.D. over the course of three (3) years; she observed

her laughing and joking with other kids in the hallways; she observed her when she was coming

back from lunch or going to gym; she knew that kids would call her, and they would meet or go

to parties or go bowling. (A.R.1697, 1700, ll-24).

       C.D.’s success at McAuliffe exemplified the value of providing all students with

challenging objectives. See Endrew F. v. Douglas Cnty. Sch. Dist., 137 S.Ct. 988, 1000 (2017).




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Ms. Flax testified that in 2007, C.D. presented with a severe language-based learning disability

due to her overall cognitive profile; she didn't initiate verbal language and was basically

answering questions in one to three words. (A.R. 1848). Ms. Flax further testified that at

McAuliffe, C.D. was in an environment where the bar was set high, she had models she could

emulate, and she was growing because of this...she was in an environment where she felt more

socially engaged and was more motivated to use her language, and as a result, her attitude

changed dramatically; she started talking and wanting to come to sessions..."I know for sure that

her language was beginning to progress and she was eager to develop more language."

(A.R.1848). In describing why C.D. benefited from inclusion in the general education classroom

at McAuliffe, Ms. Flax stated, “I think with any child who presents with special needs, you want

to hold the bar high. So you want them to have models that they can try to emulate. The thing –

the beauty of McAuliffe was, she was in the regular education classroom…and the bar was held

high, and she was growing because of this.” (A.R. 1848, ll.3-9).

       Despite the uncontroverted information provided by the Parents and their highly

knowledgeable experts at the meetings in July 2012, not only showing that C.D. succeeded

academically in the general education classroom at McAuliffe, but also evidencing her extremely

positive reaction to be with her non-disabled peers, there is no evidence that Natick or the

hearing officer considered this as a factor weighing in favor of inclusion.

         5. The hearing officer’s Order on Remand failed to demonstrate that
            Natick considered the potential harmful effect of its proposed placement
            on C.D., including the lack of appropriate peers, and the lack of access to
            the Massachusetts Curriculum Frameworks in preparation for the
            MCAS and receipt of a high school diploma, as factors weighing against
            placement in the ACCESS program.




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       In selecting the LRE, consideration must be given to any potential harmful effect on the

child. 20 U.S.C. 1412(a)(5); 34 CFR 300.116; 603 CMR 28.06 (b) and (c). Districts must

consider factors such as the potential negative effects of the proposed placement as factors

weighing in favor of inclusion. At the meeting on July 27, 2012, Ms. Coellner expressed concern

that C.D. would be isolated in ACCESS, "Because she is a very normal, regular teenager like all

normal, regular teenagers, who has the same interests in fashion and music and television and all

that." (A.R. 420) and might lose the skills in ACCESS that she worked very hard to gain at

McAuliffe. (A.R. 410-411). Mr. Francoise, the lead ACCESS teacher until October 2014

testified with regard to the peers in the program in 2012-2013: there were eight (8) students - two

(2) girls and six (6) boys, one of whom had a one-on-one aide. Most of them used language (see

generally A.R. 2433 – 2483; A.R. 2460).

       While a tailored IEP does not entitle the child to the maximum educational benefit possible,

as the Supreme Court has recently articulated, the IEP must be reasonably calculated to enable the

child to make progress appropriate in light of the child’s circumstances. See Endrew F. 137 S. Ct. at

999. Even if it is not reasonable for a child to advance from grade to grade, “every child should have

the chance to meet challenging objectives.” Id. at 1000. The Parents provided uncontroverted

information showing that C.D. had the potential to access the general education curriculum,

including that she read the same books, was working close to grade level, and had passed the ELA

MCAS (A.R. 383 – 433); however, despite the undisputed evidence showing that C.D. clearly had

the potential not only to succeed, but also to flourish, in the general education classroom with

appropriate supports and services, where the bar was set high and she was presented with

challenging goals, Natick not only denied C.D. the opportunity to continue moving forward on the

same trajectory as non-disabled children, but also arguably would have reversed it.




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       In describing the ACCESS curriculum, Ms. McGovern stated, “They use entry points to

access the general ed. curriculum. The emphasis is on more functional academics but they are

teaching the Mass. They’re using the Mass. curriculum frameworks; they’re using entry points into

the Mass. Curriculum.” (A.R. 406, l.24- A.R.407, l.3). Natick indicated that ACCESS students do

not take the MCAS and are not on the diploma track. (A.R. 295).

         6. The hearing officer’s Order on Remand failed to demonstrate that Natick
            measured C.D.’s progress and educational benefit in relation to her own
            potential, and not in comparison to the abilities of nondisabled students.

       For students with disabilities, progress and educational benefit must be gauged and

measured in relation to a student's own intellectual and functional capabilities and not judged in

comparison to the abilities of other students -- in particular, the abilities of their nondisabled

classmates. See generally, Daniel R.R., supra; Rachel H., supra; and Katherine G. v. Kentfield

Sch. Dist., 39 IDELR 63 (N.D. Cal. 2003), aff’d, 42 IDELR 29 (9th Cir. 2004).

       At the IEP meeting on July 27, 2012, Natick referenced Dr. Imber’s report and determined that

inclusion would not be successful... “I’ll be very upfront here: I can’t imagine looking at this report

offered by another family and saying to that family ‘Let’s consider full inclusion.’ So knowing the

expectation for inclusion classes, I would have significant concerns about her success.” (A.R. 317).

       When the Parents asked why C.D. could not benefit in the general education classroom or

even the less restrictive Replacement classes, Natick responded that, “Well, given C.D.’s level of

need, and given some of the other activities that go along with those -- It's not just decoding the

text; it's also inferencing, it's instructing meaning from the text, and it's working on a textual

analysis at a high-school level, and I think we believe that the most appropriate place for her to

truly access the curriculum would be in the ACCESS program.” (A.R. 413).




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        B.      In determining that the IEPs proposed by Natick for the 2012-2013 and
                2013-2014 school years were reasonably calculated to provide C.D. with a
                FAPE in the “least restrictive” environment possible, the hearing officer
                erroneously applied the IDEA’s mandate for transition planning, which not
                only defies logic, but also constitutes legal error.

       Pursuant to the IDEA, school districts are required to provide transition services,

developed through transition planning by the IEP team, based upon “age appropriate transition

assessments related to training, education, employment, and where appropriate, independent

living skills.” 20 USC §§1414(d)(1)(A)(i)(VIII). In her Order on Remand, the hearing officer

explained that the 2012-2013 and 2013-2014 school years were reasonably calculated to provide

C.D. with a FAPE in the “least restrictive” environment possible because they “would have

provided Student with the opportunity to independently access curriculum at her level, rather than

relying on aides, as would have been required in a general education setting.” (Order on Remand

p. 3). The hearing officer further reasoned that, “Natick’s proposed placement would have

satisfied IDEA’s purpose of better preparing Student for future independence in education and

employment, by instructing and encouraging her to perform more tasks independently while in

high school.” Id. As noted above, the hearing officer’s findings with regard to the level of support

C.D. needed and/or received was completely unsupported by the record. Regardless, in reaching

her conclusion, the hearing officer apparently confused the IDEA’s mandate for mainstreaming

with the IDEA’s mandate for transition planning, as further exemplified by the hearing officer’s

finding that, “(t)he record is clear that Natick balanced the benefits to be gained, namely

Student being able to independently access curriculum at level and pace appropriate to her

profile, against being outside of the general education setting for much of her day in the more

restrictive ACCESS classes.” Id.




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       Notwithstanding the complete lack of evidence on the record to support the hearing

officer’s conclusion, her finding not only defies logic (given that the ACCESS program would

not prepare C.D. for the MCAS and receipt of a diploma, and would thereby hinder, not

prepare C.D. for further education and employment), but is also contrary to both the LRE

mandate (requiring school districts to ensure that students are provided with needed supports

and modifications to remain in the general education classroom), and the Supreme Court

holding in Endrew F. (requiring school districts to provide all students with challenging

objectives). The hearing officer’s application of the incorrect IDEA mandate to reach her

conclusion constitutes clear legal error and should not be afforded any deference by the Court.

 V.     CONCLUSION

       The hearing officer’s Order on Remand neither considered nor clarified whether the 2012-

2013 and 2013-2014 IEPs were reasonably calculated to provide C.D. with a FAPE in the “least

restrictive” environment possible, pursuant to the Memorandum and Order of this Court, and in

accordance with the IDEA. More specifically, the Order on Remand failed to demonstrate that

Natick considered whether C.D. could be provided with an appropriate education in the regular

education classroom with supplementary aids and services and/or necessary modifications prior to

proposing placement in the substantially separate ACCESS program; failed to demonstrate that

Natick considered a variety of sources of information from knowledgeable persons to ensure that

its placement decision complied with the IDEA’s LRE mandate; grossly misrepresented the

nature and severity of C.D.’s disability and the level of support she needed at McAuliffe; failed to

demonstrate that Natick weighed the non-academic benefits of education in the general education

setting; failed to demonstrate that Natick considered the potential harmful effect of its proposed

placement on C.D.; failed to demonstrate that Natick measured C.D.’s progress and educational



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benefit in relation to her own potential and not in comparison to the abilities of nondisabled

students; and erroneously applied the IDEA’s mandate for transition planning, as opposed to the

applicable mandate for mainstreaming, in determining whether the 2012-2013 and 2013-2014

IEPs were reasonably calculated to provide C.D. with a FAPE in the “least restrictive”

environment possible. On the contrary, the Order on Remand, further clarified that the hearing

officer’s findings and conclusions were arbitrary, capricious, an abuse of discretion and otherwise

not in accordance with the law, and are therefore, not entitled to discretion by this Court and

should be reversed.


DATED this 25th day of May 2018               Respectfully submitted,

                                              C.D., by and through her PARENTS AND NEXT
                                              FRIENDS, M.D. and P.D.

                                              By their attorney,

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                                 CERTIFICATE OF SERVICE

I hereby certify that the above document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (“NEF”), and paper
copies will be sent to those indicated as non-registered participants on May 25, 2018.


                                                             /s/ Laurie R. Martucci
                                                             Laurie R. Martucci, Esq.




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